
839 So.2d 916 (2003)
Roy R. ROWE, Appellant,
v.
STATE of Florida, Appellee.
No. 2D02-4138.
District Court of Appeal of Florida, Second District.
March 14, 2003.
*917 KELLY, Judge.
Roy Rowe challenges the trial court's order denying his motion to correct illegal sentence filed pursuant to Florida Rule of Criminal Procedure 3.800(a). Rowe argues that his sentence as a habitual felony offender is illegal based on Taylor v. State, 818 So.2d 544 (Fla. 2d DCA 2002).[1] We affirm the decision of the trial court because the statute under which Rowe was sentenced, section 775.084(4)(a)(2), Florida Statutes (2001), was not affected by the amendments contained within chapter 99-188. Rowe is therefore not entitled to relief under Taylor.
Affirmed.
SILBERMAN and COVINGTON, JJ., concur.
NOTES
[1]  Taylor held that chapter 99-188, Laws of Florida was unconstitutional because it was enacted in violation of the single subject rule.

